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                             U.S. DISTRICT COURT FOR THE
                             DISTRICT OF MASSACHUSETTS

                                                  )
 PARTINGTON BUILDERS, LLC,                        )
                                                  )
                Plaintiff,                        )
                                                  )             CIVIL ACTION NO.:
 v.                                               )
                                                  )
 NAUTILUS INSURANCE CO.,                          )
                                                  )
                Defendant.                        )
                                                  )

                                  NOTICE OF REMOVAL

TO THE JUDGES OF THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

       Pursuant to the provisions of 28 U.S.C. § 1332(a)(1), 1441(a) and 1446(b),

Defendant, Nautilus Insurance Co. (“Nautilus”), hereby gives notice of its removal of this

action to the United States District Court for the District of Massachusetts from the

Superior Court of Massachusetts, in and for Middlesex County, and in support thereof

would respectfully show as follows:

       1.      Nautilus is a defendant in a civil action brought in the Superior Court of the

State of Massachusetts, in and for Middlesex County, styled as Partington Builders, LLC

v. Nautilus Insurance Co., Civil Action No. 2181-cv-05355 (the “Partington Action”).

       2.      Nautilus was served with a copy of the Summons and Complaint in the

Partington Action on or about December 16, 2021. A true copy of the Summons and

Complaint in the Partington Action, as served on Nautilus, is attached to this Notice of

Removal as Exhibit “A.” Nautilus’s Notice of Removal is filed within thirty (30) days after
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the receipt by Nautilus of a copy of the initial pleading setting forth the claim for relief upon
                                                                                          1
which such action or proceeding is based, as required by 28 U.S.C. § 1446(b).

       3.      The Partington Action is a suit of a wholly civil nature brought in the Superior

Court of the State of Massachusetts, in and for Middlesex County. The United States

District Court for the District of Massachusetts is therefore the proper forum and venue to

which this action may be removed under the provisions of 28 U.S.C. §§ 101 and 1441(a).

       4.      This Court has original jurisdiction to entertain this action because the only

parties to this case are citizens of different states and because the plaintiff claims that he

is likely exposure for potential indemnity and costs of defense exceeds the sum of

$75,000, exclusive of interest and costs. 28 U.S.C., §§ 1332(a)(1), 1441(a). Removal of

this action is not prohibited by 28 U.S.C. § 1445.

       5.      With respect to diversity of citizenship, the plaintiff is located in the

Commonwealth of Massachusetts, County of Middlesex.

       6.      Defendant Nautilus Insurance Co. is a corporation licensed to issue

insurance in Massachusetts, with a principal place of business in Scottsdale, Arizona.

       7.      Pursuant to 28 U.S.C. § 1446(d), Nautilus has filed a notice of the filing of

this Notice of Removal, attached herewith as Exhibit “B”, with the Clerk of the Superior

Court of the Commonwealth of Massachusetts, in and for Middlesex County.

       8.      Pursuant to 28 U.S.C. § 1447(d), Nautilus has requested that the Clerk of

the Superior Court of the Commonwealth of Massachusetts, in and for Middlesex County,

provide certified or attested copies of all records and proceedings in the Partington Action


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 In filing this Notice of Removal, the defendant does not waive any defenses with regard to service of
process or the adequacy of process.



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and certified or attested copies of all docket entries thereon. Nautilus will cause such

attested or certified copies of the state court record to be filed with this Court within thirty

(30) days hereof as required.

       9.      Counsel for Nautilus is duly admitted to practice before this Court and signs

this Notice of Removal in accordance with the requirements of Fed. R. Civ. P. 11.

       WHEREFORE, Nautilus Insurance Company, Inc. respectfully requests that the

above-referenced action now pending in the Superior Court of the Commonwealth of

Massachusetts, in and for Middlesex County, be removed from that Court to the United

States District Court for the District of Massachusetts.

                                                    Respectfully Submitted,
                                                    NAUTILUS INSURANCE COMPANY,

                                                    By its attorneys,
                                                    MORRISON MAHONEY LLP

                                                    /s/Michael F. Aylward
                                                    Michael F. Aylward, BBO #024850
                                                    250 Summer Street
                                                    Boston, MA 02210
                                                    Tel.: (617) 439-7556
                                                    Fax.: (617) 342-4913
                                                    maylward@morrisonmahoney.com


                                CERTIFICATE OF SERVICE

        I, Michael F. Aylward, hereby certify that on January 12, 2022, I electronically filed
the above-referenced document with the Clerk of the United States District Court for the
District of Massachusetts by using the CM/ECF system. I certify that a true and accurate
copy of the foregoing document was served via first class mail, postage prepaid, upon
the attorney of record for each party.


                                                      /s/ Michael F. Aylward

                                                      Michael F. Aylward



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